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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

DR. JACK WILSON STAMPS, JR.,
Plaintiff,

v. SA-24-CV-294-HJB

UNIVERSITY OF TEXAS SYSTEM,

and UNIVERSITY OF TEXAS
AT SAN ANTONIO,

COR YOR LOR YON UO COD YOR COD LON 407

Defendants.
ORDER SETTING TRIAL DATES
In accordance with the Court’s ruling at the Status Conference held on today’s date, it is

hereby ORDERED that:

L. An in-person pretrial conference will be held on January 5, 2026, at 2:30 p.m. in
Courtroom D on the 2nd floor of the United States Courthouse, 262 W. Nueva Street, San Antonio,
Texas, 78207.

a An in-person jury selection and trial will commence on January 12, 2026, at 9:30
a.m. in Courtroom D on the 2nd floor of the United States Courthouse, 262 W. Nueva Street, San
Antonio, Texas, 78207.

3y The parties should consult WDTX SA Div. Local Rule CV-16(f)-(h) regarding
matters to be filed in advance of trial. These Rule 16 documents must be filed on or before

December 19, 2025.
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a J. Bentporad
ed States Magistrate “ udee

SIGNED on January 17, 2025.

